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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
)
FEDERAL TRADE COMMISSION, )
)
Plaintiff, ) Case No. 13-cv~l999
)
v. ) Judge Andrea R. Wood
)
CONSTRUCT DATA PUBLISHERS, a.s., ) Magistrate Judge l\/Iason
a foreign corporation, also doing business )
as FAIR GUIDE, et al., )
)
)
Defendants. )
)

 

ORDER TO DISBURSE FUNDS IN COURT REGISTRY
IT IS ORDERED that the Clerk of Court shall turn over to Plaintiff Federal Trade
Cornrnission (“Comrnission”) all funds currently held in the Court registry in connection With
this matter, including $143,752.28 deposited on February 24, 2015 (Doc. 136), $9966.00
deposited on April 15, 2015 (Doc. 154), and $190,755.57 deposited on l\/Iay 12, 2015 (Doc. 161),
in addition to any accrued interest less the Registry Fee, by Wire transfer pursuant to directions
provided by counsel for the Commission, or as otherwise agreed to in Writing by counsel for the

Comrnission, Within 7 days of entry of this Order.
SO ORDERED this 2nd day of Septernber, 2016.

%M;@%Q

Andrea R. Wood
United States District Judge

 

